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UNITBD STATES DISTRICT COURT
EAS TERN DISTRICT OF NEW YORK

 

SWEETWATER ESTA'I`ES, LTD.,
Case No.: 2:16~0\/-01578
(SJF) (SIL)
Plaintiff,

- against -
DECLARATION

ANGIE M. CARPENTER, Supervisor of the Town
of lslip, STEVEN J . FLOTTERON, TRISH BERGIN
WEICHBRODT, JOHN C. COCHRANE Jr.,
ANTHONY S. SENFT, Jr, OLGA MURRAY and
ALEXIS WEIK, constituting the Town Board of the
Town of lslip, and the 'I`OWN BOARD OF THE
TOWN OF ISLIP, and JOHN SCHETTINO, Chairman,
KEVIN BROWN, Vice~Chairman, DONALD J.
FIORE, JOSEPH DeVINCENT, ANTHONY
MUSUMECI, DANIEL DeLUCA, MICHAEL
KENNEDY and VINCENT PULEO, constituting the
PLANNING BOARD OF ’I`HE TOWN OF ISLLP, and '
the PLANNING BOARD GF THE TOWN C)F ISLIP,
the TOWN OF ISLIP DEPARTMENT OF
ENVIRONMENTAL CONTROL, THE TOWN OF
ISLIP DEPARTMENT OF PLANNING AND
DEVELOPMENT and JOSEPH MONTUORI,
and BRETT ROB[NSON, THOMAS DATRE SR.,
THOMAS DATRE, JR. CLARA DATRE, DFF FA_RM
CORP., DAYTREE CONSTRUCTION CO., INC.,
DAYTREE CUSTOM BUILDERS, [NC., DAYTREE
AT CORTLAND SQUARE, INC., IEV TRUCKING
CORP., DINO PONTE Individually and dfb/a D & A
SITE CLEARING, INC.,

Defendants.
_____ X

 

AMANDA ROSE DISKEN, an attorney duly admitted to practice law before the Courts
of the State of New Yo'rk and specifically the United States District Court for the Eastern District

of New York, alleges the following under penalty of pexjury:

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l.' I am an Associate at the law firm, Campanelii & Associates, P.C., attorneys for the
Defendants Thomas Datre Sr., Clara Datre, Daytree Construction Co., Inc., Daytree Custom
Builders, Inc., and Daytree at Cortland Square, Inc. As such, l am fully familiar with the
proceedings described herein.

2. Irespeotiiiiiy submit this declaration in support of Defendants Thomas Datre Sr.,
Ciara Datre, Daytree Construction Co,, lnc., Daytree Custom Builders, Inc., and Daytree at
Cortland Square, Inc.'s (hereinatter the “Moving Defendants“) motion for an Order pursuant to
Fed. R. Civ. P. 11 sanctioning Plaintifi` and its former attorneys, Fredrick P. Stern, PC, for filing
and maintaining this frivolous action against the moving Defendants without any evidentiary
support, including, but not limited to, after permitting the moving Defendants to submit time, cost
and expense records for the Court's review, directing Plaintift` and its fenner attorneys, Fredrick P.
Stern, PC, to compensate moving Defendants for their reasonable attorneysg fees, costs, and
expenses incurred in connection With this matter and/or for such other and further relief as the
Court deems just and proper.

3. As a preliminary matter, the Moving Defendants previously made the instant
application as a Cross-Motion to Richard I. Scheyer, Esq. and Fredrick P. Stern, PC's Motion to
Withdraw as Attorney for Plaintift` [DE # 78], but were directed at the hearing on Aprii 6, 2017 by
Magistrate Judge Steven I. Locke to file this Motion before the Honorable Sandra J. Feuerstein.
A copy of our Cross»Motion [DE # 84] is annexed hereto as Exhibit "A." The same arguments
set forth in the Cross~Motion are essentiaily repeated herein

4. Tiie nature of this Motion is simple lt has long been our opinion that this entire

case was brought against the Moving Defendants after Plaintiff and its now fenner counsel read

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articles in Newsday about the Datre farnin and nothing more After the status conference on
lanuary 13, 2017, the undersigned served Plaintifi‘s then attorney, Fredriclc P. Stern, Esq., in-hand
.with a Rule 11 letter Which Went completely ignored A copy of this letter Was also mailed to Mr.
Stern's office by Certiiied Mail (Retum Receipt Requested) and was signed for by his office on
January 19, 2017. Accordingly, We respectfully submit that Piaintift‘s twenty-one (21) day safe
harbor period provided by Fed. R. Civ. P. ll(c)(Z) has long expired Out of respect for counsel,
a copy of this letter is not annexed hereto but can be provided to the Court upon request

5. Tc date, Plaintit"f has failed to produce a single document, photo, or video to support
any of its frivolous allegations against these Moving Defendants and Plaintiff‘s former counsel,
Fredriek P. Stern, PC, Who Was recently relieved as counsel from this case [DE #87], represented
that Plaintiff's sole shareholder, Lana Esterrnan, has absolutely no personal knowledge of any of
the facts which purportedly give rise to its claims The Couit is also respectfully referred to
Exhibit "B," annexed hereto, which is an ai‘lidavit of Thornas Datre Sr. which was submitted in
support of the Moving Det`endants‘ unopposed Motion for Summary Judgment [DE #88], but
nevertheless attests to the points set forth herein from an individual with personal knowledge

6. Without question, Plaintit`f and its former counsel have violated Fed. R. Civ. P.
l l(b), because the factual contentions asserted against the Moving Defendants have no evidentiary
Support and this has long been called to Plaintiff's counsels attention Specitically, this Rule

states :

Representations to the Court. By presenting to the court a
pleading, written motion, or other paper--whether by
signing, iiiing, submitting or later advocating it_an
attorney or unrepresented party certiiies that to the best of
the person’s knowiedge, inforrnation, and belief, formed
after an inquiry reasonable under the circumstances:

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(l) it is not being presented for any improper

purpose, such as to harass, cause unnecessary delay,

or needlessly increase the cost of litigation;

(2) the claims, defenses, and other legal contentions

are warranted by existing law or by a nonfrivolous

argument for extending, modifying, or reversing

existing law or for establishing new law;

(3) the factual contentions have evidentiary support

or, if specifically so identiiied, will likely have

evidentiary support alter a reasonable opportunity

for farther investigation or discovery; and

(4) the denials of factual contentions are warranted

on the evidence or, if specifically so identified are

reasonably based on belief or a lack of information

Fed. R. Civ. P. ll(`b)
7. As addressed more fully in the Moving Defendants‘ Motion for Summary Judgrnent
[DE #88] discussed snpra, Plaintift's entire case concerns purported illegal dumping on its property
apparently located at 367 Lincoln Boulevard, Hauppange, New York. lt names the Moving
Defendants and maintains six (6) causes of action against them, specifically under the
Cornprehensive Environmental Response, Compensation and liability Act, 42 U.S.C. Section
9659 ("CERCLA"), the Resource Conservation and Recovery Act ("_RCRA"), 42 U.S.C. § 6901,
et seq., private nuisance, "restitution and unjust ennchment," negligence, and most bizarre of all,
Plirna Facie Tort, all without a shred of evidence that Moving Defendants were ever there.
8. As addressed at length in the affidavit of Thornas Datre Sr., the Moving Det`endants

have never been to the property at issue in this case. ln fact l\/lr. Datre did not even know Where

this property was. See Exhibit "B" at 11 5.

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9. Aiso considering the fact that discovery is closed, the conduct in this case is clearly
a violation of at least Fed. R. Civ. P. ll(b)(3). As mentioned above, this Motion is simple
Plaintiff and its former counsel commenced and continue to maintain an action against the Moving
Defendants based entirely upon What they read in the news, Which had nothing to do with the
property at issue herein, and have forced the Moving Defendants to incur attorneys‘ fees, costs,
and expenses to defend themselves This, in our opinion, is exactly what this rule is designed to
protect against and Plaintiff and its former counsel should be sanctioned accordingly
10. As mentioned supra, submitted herewith are the following Exhibits:
Exhibit "A" l_etter submitted in Opposition to Motion to Withdraw and in
Support of Cross~Motion for Rule ll Sanctions [DE # 84] (without
the exhibit, because the exhibit is separately annexed hereto as
Exhibit "B. ")

Exhibit "B" Supporting Affidavit of Defendant Thomas Datre Sr. in Support of
the Moving Defendants' Motion for Suminary ludgment [DE # 90]

ll. Based upon the forgoing and the exhibits submitted herewith, it is respectfully
submitted that the Court must grant Defendants Thornas Datre Sr., Clara Datre, Daytree
Construction Co., Inc., Daytree Custom Builders, Inc., and Daytree at Cortland Square, Inc.'s
Motion for an Order pursuant to Fed. R. Civ. P. il sanctioning Plaintitf and its former attorneys,
Fredricl< P. Stern, PC, for Hling and maintaining this frivolous action against the moving
Defendants without any evidentiary support, including but not limited to, after permitting the
moving Defendants to submit time, cost and expense records for the Court*s review, directing
Plaintiff and its former attorneys, Fredriclc P,`Stern, PC, to compensate moving Defendants for

their reasonable attorneyst fees, costs, and expenses incurred in connection with this matter and/or

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for such other and further relief as the Court deems just and proper.

Dated: Merrick, New York
April 17, 2017

S/Amanda R. Disl<en
AMANDA R. DISKEN

